Case 4:06-cv-00177-WGH-DFH      Document 111     Filed 11/14/08   Page 1 of 18 PageID #:
                                       1077



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             NEW ALBANY DIVISION


 LOUIS and KAREN METRO FAMILY, LLC, and              )
 SOUTHERN OHIO PIZZA, INC.,                          )
                                                     )
                                 Plaintiffs,         )
                                                     )
                    v.                               )     4:06-cv-177-WGH-DFH
                                                     )
 LAWRENCEBURG CONSERVANCY DISTRICT,                  )
 and CITY OF LAWRENCEBURG,                           )
                                                     )
                                 Defendants.         )



               ENTRY ON CROSS-MOTIONS TO RECONSIDER


                                     Introduction

       This matter is before the Honorable William G. Hussmann, Jr., United

 States Magistrate Judge,1 on Plaintiffs’ Motion to Reconsider Breach of Contract

 Claim at Trial filed August 8, 2008 (Docket No. 64, 68) and Defendants’ Motion

 to Reconsider Entry of Summary Judgment filed September 12, 2008 (Docket

 Nos. 86-90, 92).


                                     Background

       Plaintiff Louis and Karen Metro Family, LLC (“Metro”) is an Ohio LLC

 owned and operated by Louis and Karen Metro, who are both residents of Ohio.




        1
         In their Case Management Plan filed March 30, 2007, the parties consented to
  Magistrate Judge jurisdiction in this case. (Docket No. 15). District Judge David
  Frank Hamilton entered an Order of Reference on April 3, 2007. (Docket No. 16).
Case 4:06-cv-00177-WGH-DFH        Document 111     Filed 11/14/08    Page 2 of 18 PageID #:
                                         1078



 (First Amended Complaint ¶ 1). Plaintiff Southern Ohio Pizza, Inc. (“SOP”) is an

 Ohio corporation. (Id. ¶ 2). Defendant Lawrenceburg Conservancy District

 (“LCD” or “District”) is a conservancy district created pursuant to Indiana

 statutes. (Id. ¶ 3). Defendant City of Lawrenceburg (“City”) is a municipality

 located in Dearborn County, Indiana. (Id. ¶ 4).

       In 2000, the City and the LCD intended to begin a project known as the

 Westside Flood Protection Project (the “Levee Project”), which involved

 construction of a levee. (Affidavit of Charles F. McNimery (“McNimery Aff.”) ¶ 3).

 Funding for the Levee Project was approved on December 21, 2000. [Id. ¶ 4).

 Part of the Levee Project included taking a parcel of land (the “Property”) owned

 by Metro to be used for the construction of the levee. (Id. ¶ 3). In 2001, the LCD

 notified Metro that the LCD intended to acquire, through eminent domain,

 property located at 8-12 Beilby Road in Lawrenceburg, Indiana, for the Levee

 Project. (Affidavit of Louis Metro (“Metro Aff.”)).2

       On March 21, 2001, the LCD sent Metro an acquisition offer for the

 Property. (Defendants’ Motion for Summary Judgment at Ex. 11 (“Acquisition

 Offer”)). The Acquisition Offer stated that the LCD offered Metro $417,000.00 for

 the Property. (Id.) On October 31, 2001, the LCD and Metro executed an




        2
         At that time, Metro also owned a three-bay commercial building on the
  Property. (Metro Aff. ¶ 3). SOP leased one of the available spaces in that building and
  operated a Domino’s Pizza franchise store at that location. (Id.) Both of the other
  leasable spaces were likewise occupied by tenants.

                                            -2-
Case 4:06-cv-00177-WGH-DFH     Document 111    Filed 11/14/08   Page 3 of 18 PageID #:
                                      1079



 agreement for the purchase of the Property (the “Purchase Agreement”). (First

 Amended Complaint at Ex. A).

       Under the Purchase Agreement, Metro agreed to convey land to the LCD in

 exchange for $417,000.00. (First Amended Complaint at Ex. A). Paragraph 2 of

 the Purchase Agreement contained the following provision:

               2. At the time of closing, which shall occur on or before
       November 30, 2001, District shall execute an irrevocable Option in
       favor of Metro wherein Metro shall have the right to purchase 0.827
       acres of the real estate described in Exhibit A and the adjoining
       0.555 acres (formerly part of the Taylor property) for a purchase
       price of Two Hundred Sixty-Nine Thousand Four Hundred Ninety
       ($269,490.00) Dollars, which Option shall specify that the
       purchase shall be subject to a new easement in favor of District for
       the location, repair, maintenance and replacement of its facilities to
       be constructed on said real estate; a new easement in favor of City
       for the location, repair, maintenance and replacement of its new
       pumping station to be constructed on said real estate; existing
       easements for roads in favor of the State of Indiana; existing flowage
       easements in favor of the United States of America; other easements
       of record; and riparian rights of Tanner’s Creek, and shall be
       exercisable for a period of eighteen (18) months commencing with
       the date written notice of Substantial Completion of the District’s
       facilities is given by District to Metro by registered mail, certified
       mail, acknowledged facsimile, or acknowledged email transmission.
       The Option shall further stipulate that the property be excavated
       and left by the District in a reasonable manner to facilitate Metro’s
       plans to rebuild a facility.

 (Id.) At the time of the Purchase Agreement, the LCD and the City intended to

 use the Property for the construction of a levee for the Levee Project. (McNimery

 Aff. ¶ 3). The Purchase Agreement contemplated an 18-month time frame in

 which the levee would be built. To that end, the Purchase Agreement provided

 for temporary relocation expenses, including temporary lease premiums, to be




                                         -3-
Case 4:06-cv-00177-WGH-DFH      Document 111    Filed 11/14/08   Page 4 of 18 PageID #:
                                       1080



 paid to SOP, and included an option for Metro to repurchase the Property (“the

 Option”) at the conclusion of the Levee Project. (First Amended Complaint at Ex.

 A). Additionally, Louis Metro alleges that he was assured that the transfer of the

 Property was a temporary exchange, that a levee would be built, and that the

 process of building the levee would take approximately 18 months. (Second

 Affidavit of Louis Metro ¶¶ 3-4).

       Metro conveyed the Property to the LCD, by deed, on November 30, 2001.

 (Affidavit of Barbara Kaffenberger (“Kaffenberger Aff.”); see also Defendants’

 Motion for Summary Judgment at Ex. 6 (“Warranty Deed”)). Metro’s attorneys

 prepared the deed conveying the Property from Metro to the LCD. (See Warranty

 Deed).

       In accordance with the Purchase Agreement, also on November 30, 2001,

 the Chairman of the LCD executed an “Option for the Purchase of Real Estate”

 (“the Option Agreement”). (Second Amended Complaint at Ex. E). The Option

 Agreement provided that:

       3. This Option shall be exercisable by Metro for a period of
       eighteen (18) months commencing with the date written notice of
       Substantial Completion of the District’s facilities is given by the
       District to Metro by registered mail, certified mail, acknowledged
       facsimile, or acknowledged email transmission.

 (Id.) The Option Agreement itself does not explain the consequences of the LCD’s

 failure to go through with the Levee Project. (See Id.) Metro’s attorney reviewed

 and approved of the Option Agreement via email communication with counsel for




                                         -4-
Case 4:06-cv-00177-WGH-DFH       Document 111      Filed 11/14/08   Page 5 of 18 PageID #:
                                        1081



 the LCD. (Affidavit of William K. Ewan ¶¶ 4, 7). Defendants allege that the

 original copy of the Option Agreement was provided to Metro at the closing on

 November 30, 2001. (Affidavit of Naomi Ewan ¶¶ 5-6).3

       SOP relocated its Domino’s Pizza to a new location in Lawrenceburg.

 (Metro Aff. ¶¶ 6, 8). And, SOP specifically negotiated an “early termination of

 lease” provision with its new landlord contemplating the temporary nature of the

 agreement between Metro and the LCD. (Id. ¶ 8).

       On January 28, 2002, a Resolution to Withdraw from the Levee Project

 was passed by the City Council for the City, which withdrew the funding for the

 project. (McNimery Aff. ¶¶ 5-6; Defendants’ Motion for Summary Judgment at

 Ex. 9 (“Resolution to Withdraw”)). The stated reason for the termination of the

 funding for the Levee Project was that the amount of acreage that would be made

 available for commercial development along the Ohio River was ultimately

 estimated at less than one-half of the original estimates. (McNimery Aff. ¶ 6).

 This was due to the original estimates not taking into consideration existing

 power lines, retention ponds, 250 feet rights-of-way on both sides of a proposed

 road, and green spaces required by the Army Corps of Engineers. (Id.) The

 original estimate of acreage freed up for development was approximately 550

 acres, and after taking into consideration the above mentioned factors, the net




        3
          The existence of this Option Agreement was apparently not known by either
  Plaintiffs or Defendants’ counsel at the time the parties’ cross-motions for summary
  judgment were filed in this case.

                                            -5-
Case 4:06-cv-00177-WGH-DFH     Document 111     Filed 11/14/08   Page 6 of 18 PageID #:
                                      1082



 acreage for development became approximately 170 acres. (Id.) The

 Lawrenceburg City Council did not feel that the Project was economically feasible

 since the cost of the Levee Project was estimated to be between $35 and $40

 million dollars. Thus, funding for the Levee Project was terminated. (Id.;

 Resolution to Withdraw).

       Once it became clear that the LCD was not going to construct a levee on

 the Property, Metro repeatedly and continuously attempted to contact the LCD

 and/or its representatives regarding the status of the Levee Project and Metro’s

 Option. (See Metro Aff. at Ex. B). For over a year, the LCD completely ignored

 Metro’s calls and letters. (Metro Aff. ¶ 10). On August 31, 2005, the LCD

 responded to Plaintiffs that the LCD had “abandoned its plans to construct the

 levee contemplated by the Agreement.” (Id. ¶ 11). After repeated attempts to

 follow up on the Option Agreement, Metro finally received a letter from counsel

 for the LCD on May 16, 2006, explaining that the Option was not exercisable

 because the LCD had chosen not to build the levee. (Id. ¶ 12).

       On August 2, 2006, counsel for the LCD notified Plaintiffs that the

 Property was being transferred to the City pursuant to an Interlocal Agreement

 (“IA”) entered into by the LCD and the City (Metro Aff. at Ex. C), and that a park

 was to be built on the Property. (Id. ¶ 13). Paragraph 4 of the IA purports to

 transfer the LCD’s rights and obligations in the Agreement to the City. The LCD

 and/or the City continued to refuse to permit Metro to exercise its Option to




                                         -6-
Case 4:06-cv-00177-WGH-DFH       Document 111     Filed 11/14/08   Page 7 of 18 PageID #:
                                        1083



 repurchase the Property. (Id. ¶ 14). Metro has since learned that the City is now

 planning to use the Property for the construction of a bridge. (Metro Aff. at Ex.

 D).

       In late 2006, Plaintiffs filed suit claiming that Defendants “refused to allow

 Metro to exercise its Option.” (First Amended Complaint ¶ 31). Plaintiffs

 asserted claims of breach of contract, fraud, and promissory estoppel, and also

 argued for punitive damages. (First Amended Complaint). Plaintiffs did not file

 a notice of tort claim with either the LCD or the City. (Affidavit of Joseph W.

 Votaw III ¶ 3; Affidavit of Richard A. Butler ¶ 3).

       Defendants filed their Motion for Summary Judgment arguing that

 Plaintiffs’ breach of contract claim is barred by the doctrine of merger of deed.

 Defendants also argue that, in the alternative, the contract is unambiguous and

 that any option to repurchase the Property was subject to the condition

 precedent of building the levee; that Plaintiffs’ fraud claim must be dismissed

 because fraud cannot be based on a future promise; and that government

 entities are usually not subject to claims of promissory estoppel. Plaintiffs filed

 their Motion for Partial Summary Judgment claiming: that the contract is

 ambiguous, must be construed in favor of Plaintiffs, and that parol evidence

 merits a finding in favor of Plaintiffs; that the doctrine of merger of deed does not

 bar recovery; and that Plaintiffs’ promissory estoppel claim is warranted because

 of Plaintiffs’ detrimental reliance.




                                           -7-
Case 4:06-cv-00177-WGH-DFH         Document 111      Filed 11/14/08    Page 8 of 18 PageID #:
                                          1084



        On March 5, 2008, this court delivered its Entry on Cross-Motions for

 Summary Judgment. (Docket No. 46). The court in that Entry granted

 Lawrenceburg’s Motion for Summary Judgment with regards to Count One

 (breach of purchase agreement) and Count Two (fraud). However, the court

 determined that Metro’s claim of equitable estoppel would survive summary

 judgment and remained a viable claim for trial.4

        On July 10, 2008, Defendants’ counsel discovered that the LCD had, in

 fact, executed the Option Agreement for the purchase of the real estate on

 November 30, 2001, in favor of Metro. Defendants’ counsel immediately sent a

 copy of the Option Agreement to Plaintiffs’ counsel along with other documents.

 (See Docket No. 57). On July 14, 2008, Defendants moved for a pretrial




        4
          A dispute has arisen in the parties’ briefing on Defendants’ Motion to
  Reconsider Entry of Summary Judgment concerning whether or not Plaintiffs have
  abandoned their claim of equitable estoppel. Plaintiffs argue that Count Three of their
  Second Amended Complaint can be construed as a claim for equitable estoppel. Given
  that the court has already determined that Plaintiffs’ equitable estoppel claim survives
  summary judgment, the court is convinced that there is no reason why Plaintiffs
  would have abandoned that claim, and the court will give Plaintiffs the benefit of the
  doubt that they had intended to raise an equitable estoppel claim in Count Three.
  Additionally, nothing in Defendants’ Motion to Reconsider convinces the court that
  reconsideration of this portion of Plaintiff’s’ claim is necessary because the court has
  already concluded that the equitable estoppel claim was grounded in the parties’
  contract and that, in the light most favorable to Plaintiffs, Defendants had represented
  that “(1) a levee was going to be built; (2) that Metro was going to get to repurchase the
  Property once the levee was built; and (3) that if the Levee Project fell through, Metro
  would still have the option to repurchase the Property because the very reason that
  the LCD wanted the property would then cease to exist.” (Entry on Cross-Motions for
  Summary Judgment at 13-14). Defendants have provided no new facts nor have they
  demonstrated that the court made an error of law regarding Plaintiffs’ equitable
  estoppel claim. Thus, Plaintiffs’ claim of equitable estoppel remains for trial.

                                             -8-
Case 4:06-cv-00177-WGH-DFH        Document 111   Filed 11/14/08   Page 9 of 18 PageID #:
                                         1085



 conference with the court seeking guidance as to how the parties should now

 proceed.

       On July 31, 2008, a pretrial conference by telephone was held. The

 court issued an Order on August 8, 2008. (Docket No. 65). Among other things,

 the court determined that, as a result of the newly-discovered Option Agreement,

 the parties may need to amend their pleadings or move the court to reconsider

 its prior Order on Summary Judgment. (Id.)

       On August 28, 2008, Metro filed Plaintiffs’ Second Amended Complaint.

 Metro’s Second Amended Complaint now alleges breach of the Purchase

 Agreement in Count One. In Count Two, Metro alleges a breach of the Option

 Agreement. Count Three alleges misrepresentation/promissory estoppel. And,

 Count Four alleges that Metro is entitled to punitive damages. On September 6,

 2008, Defendants filed their Answer to Metro’s Second Amended Complaint.

 Defendants’ Answer raises new affirmative defenses that have not been

 previously addressed by the parties or the court and asserts new defenses to the

 newly alleged claims of Metro.

       As a result of the discovery of the Option Agreement and the filing of

 Plaintiffs’ Second Amended Complaint, both Defendants and Plaintiffs have filed

 fresh motions asking the court to reconsider its Entry on Cross-Motions For

 Summary Judgment. Plaintiffs simply seek to have the court revisit their breach

 of contract claims at trial. Defendants argue that Counts One, Two, Three, and

 Four of Plaintiffs’ Second Amended Complaint must be dismissed.



                                          -9-
Case 4:06-cv-00177-WGH-DFH       Document 111     Filed 11/14/08   Page 10 of 18 PageID
                                      #: 1086



       Having discovered that an Option Agreement was, in fact, executed by the

 LCD, the court determines that reconsideration of the portion of its Entry on

 Cross-Motions For Summary Judgment granting summary judgment on

 Plaintiffs’ breach of contract claim is necessary. And, an examination of the

 parties’ briefs reveals that the court must dismiss a portion of Count Three and

 Count Four of Plaintiffs’ Second Amended Complaint. Count Two remains for

 trial. The portion of Count Three that can be construed as a promissory estoppel

 claim also remains for trial.


                          Summary Judgment Standard

       Summary judgment must be granted “if the pleadings, depositions,

 answers to interrogatories, and admissions on file, together with the affidavits, if

 any, show that there is no genuine issue of material fact and that the moving

 party is entitled to a judgment as a matter of law.” FED.R.CIV.P. 56(c). The

 motion should be granted so long as no rational fact finder could return a verdict

 in favor of the nonmoving party. See Anderson v. Liberty Lobby, Inc., 477 U.S.

 242, 248 (1986). Thus, a court’s ruling on a motion for summary judgment is

 akin to that of a directed verdict, as the question essentially for the court in both

 is “whether the evidence presents a sufficient disagreement to require

 submission to a jury or whether it is so one-sided that one party must prevail as

 a matter of law.” Id. at 251-52. When ruling on the motion, the court must

 construe the evidence in the light most favorable to the nonmoving party and




                                         -10-
Case 4:06-cv-00177-WGH-DFH       Document 111     Filed 11/14/08   Page 11 of 18 PageID
                                      #: 1087



 draw all reasonable inferences therefrom in that party’s favor. Id. at 255. If the

 nonmoving party bears the burden of proof on an issue at trial, that party “must

 set forth specific facts showing that there is a genuine issue for trial.”

 FED.R.CIV.P. 56(e); see also Silk v. City of Chicago, 194 F.3d 788, 798 (7th Cir.

 1999). Lastly, the moving party need not positively disprove the nonmovant’s

 case; rather, it may prevail by establishing the lack of evidentiary support for

 that case. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).


                                       Analysis

       In ruling on these cross-motions to reconsider the court’s Entry on Cross-

 Motions for Summary Judgment, the court must make four determinations:

       (1)    Is reconsideration of the court’s Entry on Cross-Motions for
              Summary Judgment appropriate under these circumstances?

       (2)    Do either of Plaintiffs’ breach of contract claims remain for
              trial?

       (3)    Is Plaintiffs’ new claim of misrepresentation in Count Three
              viable?

       (4)    Must Plaintiffs’ punitive damages claim in Count Four and
              request for attorney’s fees be dismissed?

 1.    The court must reconsider its Entry on Cross-Motions for Summary
       Judgment.

       Because Rule 54(b) of the Federal Rules of Civil Procedure permits the

 court to revisit judgments that are not final, the court may reconsider its

 previous Entry. Rule 54(b) provides as follows:




                                          -11-
Case 4:06-cv-00177-WGH-DFH      Document 111     Filed 11/14/08   Page 12 of 18 PageID
                                     #: 1088



       When more than one claim for relief is presented in an action,
       whether as a claim, counterclaim, cross-claim, or third party
       claim, or when multiple parties are involved, the Court may direct
       the entry of a final judgment as to one or more, but fewer than all
       of the claims for parties only upon an express determination that
       there is no just reason for delay and upon an express direction for
       the entry of judgment. In the absence of such determination and
       direction, any order or other form of decision, however designated,
       which adjudicates fewer than all the claims or the rights and
       liabilities of fewer than all the parties shall not terminate the
       action as to any of the claims of parties and the order or other form
       of decision is subject to revision at any time before the entry of
       judgment adjudicating all the claims and the rights and liabilities
       of all the parties.

 FED.R.CIV.P. 54. Additionally, as the Seventh Circuit has confirmed, a district

 court clearly has the “inherent power to modify or rescind interlocutory orders

 prior to final judgment.” Peterson v. Lindner, 765 F.2d 698, 704 (7th Cir. 1985).

       In this case, the court’s Entry on Cross-Motions for Summary Judgment

 did not contain an express determination that there was no just reason for delay

 or an express direction for the entry of judgment, and it adjudicated fewer than

 all of Metro’s claims. Thus, under the specific language of Rule 54(b), this

 court’s Entry on Cross-Motions for Summary Judgment is still subject to

 revision.

       And, the court notes that in the Entry on Cross-Motions for Summary

 Judgment, we determined that “there has been no evidence presented by any

 party that suggests the Option referred to in the Purchase Agreement was

 drafted and presented to Metro at the time of closing . . . .” (Entry on




                                         -12-
Case 4:06-cv-00177-WGH-DFH      Document 111    Filed 11/14/08   Page 13 of 18 PageID
                                     #: 1089



 Cross-Motions for Summary Judgment at 4). However, since there is now

 evidence that an Option Agreement was, in fact, tendered by the LCD, the court

 concludes that reconsideration of its Entry on Cross-Motions for Summary

 Judgment is warranted. The court will now take a second look at Plaintiffs’

 claims as they have been recast in Plaintiffs’ Second Amended Complaint. As

 was discussed previously in the court’s Entry on Cross-Motions for Summary

 Judgment, Indiana’s choice of law rules call for the application of Indiana law to

 this dispute.

 2.    The breach of contract claim under Count One of Plaintiffs’ Second
       Amended Complaint must be dismissed, while the breach of contract
       claim under Count Two must be examined at trial.

       Count One of Plaintiffs’ Second Amended Complaint asserts that the

 Purchase Agreement has been breached by the LCD’s failure to follow through

 with its obligation to execute an Option. However, the court notes that an

 Option Agreement was, in fact, executed by the LCD. Because there are no

 genuine issues of material fact regarding whether the Option Agreement was

 executed, Count One of Plaintiffs’ Second Amended Complaint must be

 dismissed.

       Count Two of Plaintiffs’ Second Amended Complaint alleges that

 Defendants breached the Option Agreement by failing to permit Metro to

 repurchase the Property at issue in this dispute. Because a latent ambiguity

 exists in the Option Agreement, this issue must be resolved at trial.




                                        -13-
Case 4:06-cv-00177-WGH-DFH      Document 111     Filed 11/14/08   Page 14 of 18 PageID
                                     #: 1090



       With regard to the issue of ambiguity:

       Indiana follows the four corners rule, namely, that extrinsic
       evidence is not admissible to add to, vary, or explain the terms
       of a written instrument if the terms of the instrument are
       susceptible of a clear and unambiguous construction. A
       document is not ambiguous simply because parties disagree
       about a term’s meaning. Language is ambiguous only if
       reasonable people could come to different conclusions as to its
       meaning.

 Cook v. Adams County Plan Com’n, 871 N.E.2d 1003, 1007 (Ind.Ct.App. 2007).

 There are two distinct types of ambiguities. A patent ambiguity is apparent from

 a look at the face of the contract; it arises from indefinite or confusing language

 within the instrument itself. Simon Property Group, L.P. v. Michigan Sporting

 Goods Distributors, Inc., 837 N.E.2d 1058, 1070-71 (Ind.Ct.App. 2005). A latent

 ambiguity, on the other hand, is not apparent until it becomes time to implement

 the contract. Id. at 1071. A patent ambiguity raises a question of law, while a

 latent ambiguity raises questions of fact that must be resolved by the fact finder.

 Id. And, extrinsic evidence is admissible in Indiana to resolve an ambiguity.

 University of Southern Indiana Foundation v. Baker, 843 N.E.2d 528, 535 (Ind.

 2006).

       The facts surrounding this dispute clearly reveal a latent ambiguity.

 Circumstances external to the face of the Option Agreement revealed that there

 was no contemplation within the Option Agreement of what is to be done if the

 Levee Project fell trough. Only when the LCD abandoned the Levee Project and

 refused to allow Metro to repurchase the Property did the ambiguity become




                                         -14-
Case 4:06-cv-00177-WGH-DFH        Document 111      Filed 11/14/08   Page 15 of 18 PageID
                                       #: 1091



 apparent. In light of this latent ambiguity, we must look to extrinsic evidence, at

 trial, to resolve this ambiguity.

       The court is aware of Defendants’ additional argument that the Option

 Agreement violated the Rule Against Perpetuities. However, because the Option

 Agreement is ambiguous, the court cannot ascertain the terms of the Option

 Agreement without hearing evidence at trial. Only after a decision is made

 regarding the Option Agreement can the court determine whether or not the

 agreement violated the Rule Against Perpetuities.5 The court also concludes that

 further briefing may be appropriate before the court evaluates this unusual

 defense.

 3.    Plaintiffs’ failure to file a tort claim notice requires dismissal of
       Plaintiff’s misrepresentation claim.

       Defendants have raised several rationale for dismissing Count Three of

 Plaintiffs’ Second Amended Complaint including: (1) that Plaintiffs’ claim of

 misrepresentation fails because Plaintiffs have failed to demonstrate facts

 sufficient to support a claim of misrepresentation; (2) that a claim of




        5
         Additionally, Defendants should be mindful of the fact that, under certain
 circumstances, Indiana law permits a court to reform a contract that violates the Rule
 Against Perpetuities in the interests of equity “by inserting a savings clause that most
 closely preserves the transferor’s plan of distribution and is within the limits of the
 rule against perpetuities applicable when the nonvested property interest or power of
 appointment was created.” Ind. Code § 32-17-8-1. This is a revelation of the Indiana
 General Assembly’s intent to save certain contracts that violate the Rule Against
 Perpetuities. Even if the court concludes, after hearing evidence on the issue of
 ambiguity, that the Option Agreement violates the Rule Against Perpetuities, the court
 might be placed in a situation where reformation of the contract is the most equitable
 solution.

                                           -15-
Case 4:06-cv-00177-WGH-DFH      Document 111     Filed 11/14/08   Page 16 of 18 PageID
                                     #: 1092



 misrepresentation is a tort, and that the claim is barred because Plaintiffs failed

 to timely file a Tort Claim Notice; and (3) that the claim is barred by the doctrine

 of immunity. Because the court concludes that Plaintiffs neglected to timely file a

 Tort Claim Notice, the portion of Count Three alleging misrepresentation must be

 dismissed.

       Count Three of Plaintiffs’ Second Amended Complaint alleges, in part, that,

 by Defendants’ actions of representing that Metro would be permitted to

 repurchase the Property, and by representing that SOP’s move would only be

 temporary, Defendants committed the tort of fraudulent misrepresentation.

 Under Indiana law, notice of an allegation that such a tort has been committed

 must be filed within 180 days of the date the alleged loss occurred. Such notice

 must be filed with the governing body of the political subdivision accused of

 committing the tort and the “Indiana political subdivision risk management

 commission . . . .” Ind. Code § 34-14-3-8. Plaintiffs have provided no evidence to

 the court that suggests that such notice was, in fact, provided. Additionally,

 contrary to Plaintiffs’ assertions, Defendants have not waived this argument. It is

 true that Defendants have waited many months to raise the issue of the Tort

 Claims Notice. However, “[b]ecause a plaintiff’s new complaint wipes away prior

 pleadings, the amended complaint opens the door for defendants to raise new

 and previously unmentioned affirmative defenses.” Massey v. Helman, 196 F.3d

 727, 735 (7th Cir. 1999). Therefore, the portion of Count Three of Plaintiffs’

 Second Amended Complaint alleging misrepresentation must be dismissed.



                                         -16-
Case 4:06-cv-00177-WGH-DFH      Document 111     Filed 11/14/08   Page 17 of 18 PageID
                                     #: 1093



 4.    Plaintiffs’ claims for punitive damages and attorney’s fees fail.

       Plaintiffs also seek punitive damages in Count Four of their Second

 Amended Complaint. However, Indiana law regarding punitive damages provides

 that when a party seeking punitive damages asserts both a tort claim and a

 breach of contract claim, the party must prove the independent tort in order to be

 entitled to an award of punitive damages. Tobin v. Ruman, 819 N.E.2d 78, 86

 (Ind.Ct.App. 2004). In this case, Plaintiffs’ tort claims have all been dismissed,

 and Plaintiffs are, therefore, not entitled to punitive damages under Indiana law.

       Finally, Plaintiffs are also not entitled to attorney’s fees. Under Indiana

 law, unless there is specific statutory authority or a contractual agreement, each

 party pays its own attorney’s fees. Indiana v. Carter, 658 N.E.2d 618, 623-24

 (Ind.Ct.App. 1995). This is true unless a party acts in “bad faith.” However,

 Indiana law explains that, because this exception allowing attorney’s fees in the

 event of “bad faith” is punitive in nature, Indiana does not allow such awards

 against the government. Id. Therefore, Plaintiff’s claim seeking attorney’s fees

 must also be dismissed.


                                     Conclusion

       For the reasons outlined above, the parties’ cross-motions to reconsider are

 GRANTED. Having reconsidered the parties’ motions for summary judgment, the

 revelation of the existence of an Option Agreement, and Plaintiffs’ Second

 Amended Complaint, the court concludes as follows: (a) Count One of Plaintiffs’




                                         -17-
Case 4:06-cv-00177-WGH-DFH      Document 111       Filed 11/14/08   Page 18 of 18 PageID
                                     #: 1094



 Second Amended Complaint is DISMISSED; (b) Count Two of Plaintiffs’ Second

 Amended Complaint remains for trial; (c) the portion of Count Three alleging

 misrepresentation is DISMISSED; (d) Plaintiffs’ claim of Equitable Estoppel

 remains for trial; and (e) Count Four of Plaintiffs’ Complaint seeking punitive

 damages as well as Plaintiffs’ claim for attorney’s fees are DISMISSED.

       SO ORDERED.


 Dated: November 14, 2008
                                                _______________________________
                                                 WILLIAM G. HUSSMANN, JR.
                                                      Magistrate Judge



 Electronic copies to:

 Richard A. Butler
 rabutler9@comcast.net

 William C. Moyer
 LORCH & NAVILLE, LLC
 wmoyer@lorchnaville.com

 Joshua Taylor Rose
 FROST BROWN & TODD, LLC
 jtrose@fbtlaw.com

 Joseph Wilber Votaw III
 VOTAW & KISOR
 josephvotaw@earthlink.net

 Susan Lynn Williams
 FROST BROWN & TODD LLC
 swilliams@fbtlaw.com




                                         -18-
